2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 1 of 34

Message

From: Watkins, Tim [Watkins.Tim@epa.gov]

Sent: 3/13/2025 9:14:23 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [(Jehling.Erica@epa.gov]

cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Brinkmiller, Michael [Brinkmiller.Michael@epa.gov]
Subject: ORD Compliance Review Forms

Attachments: ORD-CCTE-BCTD_PR-ORD-25-00036 031325 AxionBioSys_ MEA Plates_s.pdf;
ORD_CESER_68HERC21D0003_03122025 0001.pdf; ORD-CCTE-CCED_68HEOB24P0410_ 031325 7500 QTRAP
MSA_2_s.pdf; ORD-CCTE-GLTED-68HERC25D0004_031325 TERSTO4-LakeExplorer-PRORD-25-01259_ s.pdf; ORD-
CCTE-GLTED_PR-ORD-25-00589_031325 Gas and demurrage_s.pdf; ORD-CEMM 68HERC23C0047 janitorial
03122025.pdf; ORD-CCTE-GLTED-PR-ORD-25-00386_031325 LE2DryDock_s.pdf; ORD-CEMM 68HERC24D0003
APTIM_ESF 03122025.pdf; ORD-CEMM 68HERD20D0001 03122025. pdf

Hi Kathryn and Erica,

The purpose of this message is to forward the nine attached Compliance Review Forms from the Office of Research and
Development (ORD) for actions greater than $50,000. The actions described in the attached forms have been reviewed
and are in compliance with recently issued EOs and the Administrator’s priorities. Chris Robbins had previously provided
Compliance Review Forms for ORD, but with his retirement | am now serving as ORD Senior Resource Official, so I will
be sending the ORD Compliance Review Forms moving forward.

If you have questions or require additional information, please contact me, Mike Brinkmiller
(Brinkmiller.michael(@epa.gov) and Laconda Hart (Hart.Laconda@epa.gov).

Thank you,
Tim Watkins

Senior Resource Official
Office of Research and Development

EPA_00041784
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 2 of 34

Executive Order Compliance Review

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(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:| PR-ORD-25-00036; PO # TBD

Recipient/ Vendor name:| AXION BioSystems, Inc

Funding amount $:| Not to exceed $57,000

Work Description:

Funding vehicle to purchase scientific supplies to operate microelectrode array (MEA)
systems that are used in evaluating potential effects of chemicals on the brain.
Specifically, this vehicle will allow purchase of 3 variations of MEA plates used to record
neuronal cell electrical activity for evaluating neurotoxicity and developmental neurotoxicity
to support statutorily-approved work related to our partners who use this data to meet the
requirements of the Toxic Substances Control Act (TSCA); Federal Insecticide, Fungicide
and Rodenticide Act (FIFRA) and Food Quality Protection Act (FQPA).

Government-wide Acquisition (if yes, check box):

EPA_00041785
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 3 of 34

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Date: 2025.03.13
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Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team

EPA_00041786
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 4 of 34

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Funding actions for $50,000 and above, review and signature by a DOGE team member is
required.

Funding Action Review Confirmation

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Comeback” initiative, Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:| BBHERC21D0003/6BHERC22F0267

Recipient/ Vendor name:|Eastern Research Group (ERG)

Funding amount S: $90,079.29

Work Description:

This funding action is to exercise option 3 of BHERC21D0003. The work to be completed under this Option
period includes: 1) To provide CESER/GCRD with technical support for reviewing, evaluating, and assessing
groundwater remediation technologies, groundwater modeling reports and other options for the

remediation of contaminated sites (i.e. Superfund, RCRA, and Brownfields), 2) To provide fast turnaround
technical reviews and summaries of site assessment/investigation documents, groundwater modeling
applications and other materials which have been provided to the Ground Water Tech Support Center (GWTSC)
by the EPA Regional Offices. Due to the often quick turnaround required for site specific reviews, the contractor
must have the ability to assign reviewers quickly, and be able to complete reviews and administrative paperwork
within a 30-45 day working time frame, and 3) Provide support responding to questions and inquiries concerning
the models distributed by EPA.

System Link: | EAS does not support a direct system link. Please query PR-ORD-25-00826 directly in EAS.

EPA_00041787
2:25-Cv-02152-RMG Date Filed 04/21/25 =Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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Date: 2025.03.12
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Page 5 of 34

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 6 of 34

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actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:| 6B8HEOB24P0410

Recipient/ Vendor name:|AB Sciex LLC

Funding amount S: 75,230

Work Description:

Needed to ensure laboratory instruments are properly calibrated and maintained in order
to generate accurate scientific data for decision makers to better protect human health and
the environment in accordance with pillar 1 of Administrator Zeldin's Powering the Great
American Comeback to provide clean air, land and water for every American.

System Link: |PR-ORD-25-00949. No direct system link possible in EAS. Please direct query EAS.

EPA_00041789
2:25-Cv-02152-RMG Date Filed 04/21/25 =Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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REEDER REEDER SAMS

Date: 2025.03.13
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Page 7 of 34

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041790
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 8 of 34

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actions, which must include the following details, at a minimum.

Contract/ Grant/ 1A #/ BRHERC25D0004/TO 6BHERC25F-tbd

Recipient/ Vendor name:|SpecPro Sustainment and Environmental (SSE)

Funding amount S: 88,000

Work Description:

Initiation and incremental funding of a new task order on Toxicology and Ecology
Research support contract (68HERC25D0004) with SSE for support for the operations
and maintenance of the EPA/ORD/CCTE/Great Lakes Toxicology and Ecology Division
research vessel, Lake Explorer II, for mission critical work of ensuring clean water (EPA
pillar 1) of the Great Lakes, as part of the Clean Water Act Section §1254(f) (shall conduct
research and technical development work, and make studies, with respect to the quality of
the waters of the Great Lakes, including an analysis of the present and projected future
water quality of the Great Lakes) (PR-ORD-25-01259).

System Link: | No direct system link possible in EAS. Please direct query EAS.

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2:25-Cv-02152-RMG Date Filed 04/21/25 =Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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Page 9 of 34

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 10 of 34

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Comeback” initiative, Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #: PR-O RD-25-00589

Recipient/ Vendor name: Linde Gas and Equipment Inc / TBD

Funding amount S: 50,000

Work Description:

The contract is for the purchasing of various gases and the tank rental (demurraging charges) within
which they are stored. The various gases are used in protection of equipment (analytical instruments),
protection of biological samples (liquid nitrogen), preservation of samples during shipment, and the
analytical analysis of chemicals in water and other types of samples.

Statutory linkage: FIFRA, CWA, TSCA
Pillars: 1-Clean Air, Land and Water for Every American

System Link: | PR-ORD-25-00589. No direct system link possible in EAS. Please direct query EAS.

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2:25-Ccv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

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Attachment A

STATEMENT OF WORK CYLINDERS AND OTHER CONTAINERS

The contractor shall deliver compressed and liquid gases as specified in individual call orders.
Compressed and liquid gases shall be delivered directly to the laboratory as specified at the time of
ordering. The laboratory and gas use site is located in the EPA Facility located at 6201 Congdon Blvd.
The contractor shall pick up empty cylinders directly from the laboratory and gas use site. The requester
(end user) shall have the authority to sign for the receipt of cylinders and the pickup of ernpties. The
contractor shall have a multi-copy form that he completes to identify cylinder types, unique cylinder
identifier, and date of delivery/pickup that an EPA employee shall sign after verifying its accuracy. In
addition to cylinder markings required by DOT and State of Minnesota regulations, each cylinder shall be

‘ marked with a removable tag which shall include the call order number, tank serial number, and/or bar
code which shows the cylinder was provided under this Blanket Purchase Agreement (BPA).

All cylinder valves shall comply with American National Standard B57.1-1965, “Compressed GAS
Cylinder Valve Outlet and Inlet Connections.” Valve protection caps for cylinders designed to receive
such caps shall be securely attached to the cylinders in a manner to protect the valves from injury during
transit and delivery into the Government's receiving area.

The following Compressed Gas Association (CGA) connections shall be supplied with the gases as
indicated below:

GAS CONNECTION
Helium 580
Hydrogen 350
Air 590
Carbon Dioxide 320
Nitrogen 580
Oxygen Helium 590
Oxygen $40
Ethylene 350
Argon 580

For other gases and gas mixtures, valve. outlets standardized by the CSA and accepted by the American
Standards Association shall be supplied.

Ordering

Orders placed on Monday will be delivered the following Tuesday, and orders placed on Wednesday will

be delivered the following Thursday. However, an order placed on. Wednesday may need to be delivered

on the following Friday if due to a Federal holiday or if'a research project needs to be conducted through

the weekend. Additional next day delivery throughout the week may be required for emergency orders of
gas mixtures.

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Warranty

Notwithstanding the provision of the “Inspection” clause of this BPA, the vendor guarantees that at the
time of delivery, the gases provided under this BPA will be free-from any defects and will conform to the
requirements of this BPA. Notice of any such defect or nonconformance shall be given by the
Government, in writing, to the vendor within 2 months after delivery. After such notice is received, the
vendor shall, within 48 hours, replace the defective cylinder of gas. When replacement requires

5 transportation of the cylinder, shipping costs from the delivery point to the contractor’s plant and return
shall be borne by the contractor. This warranty shall then continue as to the replaced cylinder, until 2
months after date or re-delivery. The replaced cylinder shall be provided at no cost to the government.

Demurrage.on Vendor Owned Cylinders

A. Gas cylinders and other containers shallremain the property of the contractor but shall be
provided without charge for deposit.

B.. The Project Officer will verify, approve, and sign each invoice for demurrage (rental). Upon
approval the Project Officer will forward each invoice to Finance for payment.

C. Ifdemurrage is to be charged on the cylinders, the price for demurrage shall be incorporated into
the cost of each individual cylinder ordered.

Inventory

Both monthly reviews and quarterly reviews of inventory will be conducted. Comparison-of contractor’s
records will be made with the EPA records. If there is a discrepancy, a walkthrough of inventory shall be
conducted with the EPA Project Officer. In the case of any lost cylinders, the contractor shall be
responsible for the proof of the lost cylinder.

The-contractor shall perform an annual inventory of gas cylinders located in the Duluth Laboratory. This
inventory shall be performed with the EPA Project Officer. The contractor shall contact the Project
Officer annually to arrange the inventory review.

ition Plan

The contractor shall submit a transition plan to assume the work required in the Statement of Work. The
transition plan should also address how the contractor will make the transition with minimal disruption of
ongoing research projects.

Reports

A monthly report divided by division identifying all cylinders on site shall be submitted to the
Contracting Officer by the last day of the month. This report shall include bar code and/or serial number
of cylinders, call order number, ship date, delivery date, invoice number, type of gas, cylinders on hand,
pick up/delivery schedule, and location of cylinder.

End of Contract Period

At the end of the BPA, the contractor shall remove all cylinders on or before the last day of the BPA. The
contractor shall credit EPA for any full tanks returned.

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2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 14 of 34

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actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #: 68H ERC23C0047

Recipient/ Vendor name: KRA-CRJ JV INC

Funding amount $: 90,000

Work Description:

Initial funding for Option Year 2 for the Gulf Breeze, FL Research Facility janitorial
contract as per the requirements set forth in the performance work statement of the
contract.

System Link: |https://eas.epa.gov/prism.net/Documents/Common/Navigator/RequisitionNavigator.aspx

EPA_00041797
2:25-Ccv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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Date: 2025.03.12
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Page 15 of 34

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041798
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 16 of 34

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actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #: PR-O RD-25-00386

Recipient/ Vendor name: TBD

Funding amount S: 783,500

Work Description:

EPA/ORD/CCTE/GLRED operates and maintains a research vessel, Lake Explorer 2, for
mission critical work of ensuring clean water (EPA pillar 2) of the Great Lakes, with this
contract being for the repair and drydock the research vessel to ensure continued
operations in support of EPA Pillar 2 - cleaner water in the Great Lakes
(PR-ORD-25-00386).

System Link: | PR-ORD-25-00386-No direct system link possible in EAS. Please direct query EAS.

EPA_00041799
2:25-Ccv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

Digitally signed by
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Date: 2025.03.13
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Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041800
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 18 of 34

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Contract/ Grant/ 1A #/ 6BBHERC24D0003 / BHERC24F0335

Recipient/ Vendor name:|AP TIM Federal Services, LLC.

Funding amount S: $337, 135.87

Work Description:

The purpose of this TO is to provide support to USEPA for operating and maintaining the
Experimental Stream Facility (ESF), a Special Research Asset (SRA) for USEPA/ORD
where a unique and complex stream mesocosm experimental set-up is used to conduct
dose-response studies, including supervisory control and data acquisition and management
procedures. There are also base measurements and analyses required for all studies that
are supported by this TO. The technical support TO is an essential mechanism in fulfilling
research conducted by the EPA to support its statutory obligations under Clean Water Act
(CWA) Sections 104, 303 (c and d), 304 (a), 319 and 603(b) and Safe Drinking Water Act
(SDWA) Sections 1442 and 1458 (Pillar 1).

System Link: PR-ORD-25-01 293

EPA_00041801
2:25-Ccv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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Page 19 of 34

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041802
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 20 of 34

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Contract/ Grant/ 1A #:/ 6b 8BHERD20D0001 j 68HERC25RO0020

Recipient/ Vendor name:| VWWSP USA Environment & Infrastructure Inc.

Funding amount $: 59,233. 16

Work Description:

Renovation of the existing D265A lab module including the installation of new floor
mounted fume hood, HVAC modifications, casework demolition, utility demolition and
re-installation, and general repairs.

System Link: |https://eas.epa.gov/prism.net/Documents/Common/Navigator/RequisitionNavigator.aspx

EPA_00041803
2:25-Ccv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

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Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00041804
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 22 of 34

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/15/2025 6:01:47 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-15

Attachments: Contract_Terminations_withAmounts_2025-03-15.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-15, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041805
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 23 of 34

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Original file name:

Contract_Terminations_withAmounts_2025-03-15.xlsx

EPA_00041806 - EPA_00041825
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 24 of 34

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/15/2025 8:00:58 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041826
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 25 of 34

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Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041827 - EPA_00041892
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 26 of 34

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/16/2025 6:02:03 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-16

Attachments: Contract_Terminations_withAmounts_2025-03-16.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-16, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041893
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 27 of 34

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-16.xIsx

EPA_00041894 - EPA_00041913
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 28 of 34

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/20/2025 6:01:52 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-20

Attachments: Contract_Terminations_withAmounts_2025-03-20.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-20, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00041914
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 29 of 34

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Original file name:

Contract_Terminations_withAmounts_2025-03-20.xIsx

EPA_00041915 - EPA_00041934
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 30 of 34

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/16/2025 8:00:38 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00041935
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 31 of 34

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Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00041936 - EPA_00042001
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3 Page 32 of 34

Message

From: White, Lisa [WHITE.LISA@EPA.GOV]

Sent: 3/20/2025 5:43:03 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]

Subject: DOGE Review - Region 3 - March 20, 2025

Attachments: 47QTCA19DOOH4.pdf; PWS - Office of Water IT Sup (1).pdf; EO Compliance
Form_032025_WVNY_AgAssessment.pdf; RFQ #5 _WV_NY_Ag Assessments.pdf; F-00336525.pdf; PADEP PWSS
Grant Workplan for FY24 submitted to EPA-revised June 2024.pdf

Kathryn and Erica,

Good afternoon. Attached are 3 funding actions of $50,000 or more for your review and approval. Below is a
summary of the actions.

Contracts:
e Contract #47QTCA19D00H4 to IntePros Federal for $75,000 (Attachments 1 and 2)
e Contract #68HE0323A0006 to Environmental Resources Group for $85,618.70 (Attachments 3 and 4)

Grants and Cooperative Agreements:
e Grant #F-00336525 to Pennsylvania Department of Environmental Protection for $1,000,000
(Attachments 5 and 6)

Please contact me with any questions. thanks.lw

Lisa White, Acting Director
Mission Support Division

US EPA

1600 JFK Boulevard

Phila, PA 19103
215-814-2391/white.lisa@epa.gov

EPA_00042002
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Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding actions for $50,000 and above, review and signature by a DOGE team member is
required.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative, Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #: 47QTCA1 9DO0O0H4

Recipient/ Vendor name:||[NtePros Federal

Funding amount S: 75,000

Work Description:

To maintain and update the Water Resources Registry application framework and revise
spatial analyses to support state and federal partners and their work related to the Clean
Water Act sections 117, 401, and 404. The WRR was built in partnership with the states to
support joint mission work.

System Link: |See attached PR draft

EPA_00042003
2:25-Ccv-02152-RMG Date Filed 04/21/25 = Entry Number 109-3

Government-wide Acquisition (if yes, check box): [|

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

Digitally signed by Price-

Price-Fay, Fay, Michelle
Michelle 12:57:43 0400"

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Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00042004
